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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO.: 04-60001-CR-COOKE/(s)(s)(s)(s)(s)
UNITED STATES OF AMERICA,

Plaintiff,

Vv.
ADHAM AMIN HASSOUN

Defendant.

 

ORDER GRANTING MOTION FOR APPOINTMENT OF APPELLATE
COUNSEL

THIS CAUSE is before the Court on Defendant Adham Hassoun’s motion for
appointment of counsel for his appeal and the Court being fully advised, it is hereby

ORDERED and ADJUDGED that the motion is GRANTED. Effective immediately
attorney Lawrence D. Rosenberg, of Washington D.C., and the law firm of Jones Day
are appointed as counsel in connection with Defendant Adham Hassoun’s appeal in
this case.

Th.
DONE and ORDERED this W day of January, 2008, in Chambers at Miami,

Dade County, Florida.

 

 

HONORABLE MARCIA G. COOKE
UNITED STATES DISTRICT COURT JUDGE

Copies Furnished to:
Counsel of record
